 1   DEVIN DERHAM-BURK #104353
     CHAPTER 13 STANDING TRUSTEE
 2   P O Box 50013
     San Jose, CA 95150-0013
 3
     Telephone: (408) 354-4413
 4   Facsimile: (408) 354-5513
 5   Trustee for Debtor(s)
 6
 7
 8                            UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF CALIFORNIA - DIVISION 5
 9
10                                               )   Chapter 13
     In re:                                      )   Case No. 18-51921 SLJ
11                                               )
                                                 )   FIRST AMENDED TRUSTEE’S OBJECTION
12                                               )   TO CONFIRMATION WITH CERTIFICATE
     DORIA YVETTE FRIAS                          )   OF SERVICE
13                                               )
                                                 )
14                                               )   Initial Confirmation Date: OCTOBER 24, 2018
                                                 )   Initial Confirmation Time: 1:25 PM
15                                               )   Place: 280 S. 1st Street Room 3099
                                                 )           San Jose, CA
16                                               )   Judge: Stephen L. Johnson
                       Debtor(s)                 )
17                                               )
18
19   Devin Derham-Burk, Trustee in the above matter, objects to the Confirmation of this Plan for the

20   following reasons:
21
         1. Pursuant to the review of the pay advices provided it appears that the Debtors average
22
              monthly income is approximately $4,065.02 not $3,187.60 and her average monthly
23
24            withholdings is approximately $1,074.01 not $871.85 as listed on Schedule I. The Debtor

25            must amend Schedule I & J accordingly. Because of this inconsistency, the Trustee cannot
26            determine whether the plan is feasible under 11 U.S.C. § 1325(a)(6). NOTE: It appears
27
              the debtor receives commission income that have been omitted.
28


                                                                       Trustee's Obj to Confirmation – 18-51921 SLJ


     Case: 18-51921        Doc# 21    Filed: 10/18/181   Entered: 10/18/18 16:29:59              Page 1 of 3
        2. The Debtor has failed to comply with 11 U.S.C. § 521(a)(1)(B)(iv) because the Debtor
 1
 2         has failed to provide the Trustee with a copy of her payment advice dated on or about

 3         August 24, 2018. If the Debtor cannot provide a copy of the payment advice, a
 4
           declaration signed by the Debtor under penalty of perjury must be provided pursuant to
 5
           General Order 32 of the United States Bankruptcy Court for the Northern District of
 6
 7         California. Pursuant to the order, the declaration must set forth the reasons that the pay

 8         advice is unavailable and should state the Debtor’s estimate of payments received within
 9         the 60 days before the petition date and provide other evidence, if any, of the payments
10
           received.
11
        3. In order to assist the Trustee in determining whether the disposable income test in 11 U.S.C.
12
13         §1325(b)(1)(B) and/or the feasibility test in 11 U.S.C. §1325(a)(6) is met, the Trustee

14         requests that the Debtor provide her with a copy of each federal and state income tax return
15         and W-2 form required under applicable law with respect to each tax year of the Debtor’s
16
           ending while the case is pending confirmation. The tax return shall be provided to her at
17
           the same time it is filed with the taxing authority.
18
19      4. The Trustee questions the feasibility of the Debtor’s Plan pursuant to 11 U.S.C. §

20         1325(a)(6). Pursuant to the Debtor’s testimony at the Meeting of Creditors held October
21
           10, 2018 her alimony income will end this month. The Debtor will have a deficit in her
22
           budget of $731.25 per month, after she makes her plan payment of $75.00 with this income.
23
24
25
26   Dated: October 17, 2018                              /S/ Devin Derham-Burk
27                                                        ____________________________________
                                                          Chapter 13 Trustee
28


                                                                        Trustee's Obj to Confirmation – 18-51921 SLJ


     Case: 18-51921      Doc# 21     Filed: 10/18/182    Entered: 10/18/18 16:29:59               Page 2 of 3
 1                            CERTIFICATE OF SERVICE BY MAIL
 2
            I hereby declare that I am over the age of 18 years, not a party to the within cause; my
 3
 4   business address is 983 University Ave., Bldg. C-100, Los Gatos, CA 95032. I served the within

 5   Objection to Confirmation, by placing same in an envelope in the U.S. Mail at Los Gatos,
 6
     California on October 18, 2018. Said envelopes were addressed as follows:
 7
 8
           DORIA YVETTE FRIAS                    THE MLNARIK LAW GROUP INC
 9          1052 AUDUBON DR                           2930 BOWERS AVE
10          SAN JOSE, CA 95122                      SANTA CLARA, CA 95051

11
12
13
                                                /S/__Clotilde Costa________________
14                                              Office of Devin Derham-Burk, Trustee
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                                     Trustee's Obj to Confirmation – 18-51921 SLJ


     Case: 18-51921     Doc# 21     Filed: 10/18/183   Entered: 10/18/18 16:29:59              Page 3 of 3
